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IN THE UNITED STATES DISTRICT COURT 05'\"”15%"'\’
FOR THE WESTERN DISTRICT OF TENNESSEE ROEL
WESTERN DIVISION

 

 

JIT CONCEPTS, lNC.,
P]aintiff, Case No.: 02-2891 D V
v.
SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Dei`endant.

 

ORDER DENYING MOTION [N LIMINE TO EXCLUDE LETTER FROM
FROM RANDY G. LITTLETON TO MARILYN RUCKER, DATED JULY 8, 2002

 

IT APPEARING TO THE COURT that the motion of Plaintii`t", JIT Concepts, Inc., to
Exclude the Letter from Randy G. Littleton, attached as Exhibit l to the motion is not Well founded
and should not be grantedl Since Plaintiff contends that Defendant’s stated reasons for terminating
its contract are pretextual, the letter is relevant to show a pattern of complaints, thereby lending
credence to Defendant’s position

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the motion in limine

to exclude the letter from Randy G. Littleton is DENIED.

  
  

IT ls so oRDERED this ¢é"¢` day Or

 

CE BOUIE DONALD
UNITED STATES DISTRICT JUDGE

Tt'ns document entered on the docket ah et in com tiance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

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